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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION



CHERYL COMPTON, et al.,                  )
                                         )
                  Plaintiffs,            )
                                         )
            v.                           ) No. 4:11-CV-1975 (CEJ)
                                         )
ST. LOUIS METROPOLITAN                   )
BOARD OF POLICE COMMISSIONERS,           )
 et al.                                  )
                                         )
                  Defendants.            )

                                    ORDER

      IT IS HEREBY ORDERED that a hearing on the plaintiffs’ request for a

preliminary injunction will be held on Tuesday, November 15, 2011, at 9:30 a.m.




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                                         CAROL E. JACKSON
                                         UNITED STATES DISTRICT JUDGE

Dated this 14th day of November, 2011.
